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From:                                        Leffert, Anthony <aleffert@rwolaw.com>
Sent:                                        Thursday, June 29, 2023 4:56 PM
To:                                          Jacob Resnick; Harry Winderman
Cc:                                          Kenneth Louis Minerley; Olson, Nina M.
Subject:                                     Stockholders Agreement
Attachments:                                 Fully Signed First Amended and Restated Onemata Stockholders Agreement
                                             (00819303xBE439).PDF



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sender and know the content is safe.


Jacob,

A er reviewing your reply to our response to the mo on for a valua on, I doubled checked
our documents produc on with respect to the Stockholders Agreement. A ached is the
Stockholders Agreement which I believed had been produced in response to a discovery
request. I believed it had been produced with a bates number but it seems it was not
produced. A dra of this agreement was bates numbered but listed in the privilege log. Of
course, both Rahman and Areﬁn received their copies of this when it was fully executed. Let
me know if you have any ques ons.

Tony

Anthony L Leﬀert
A orney At Law




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